N\\ Case 2:02-cr-20079-.]PI\/| Document 157 Filed 08/15/05 Page 1 of 3 Page|D 127
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,F@uz THE WESTERN DISTRICT oF TENNESSEE
05 hug ‘5 m 2 WESTERN DIVISION ° 2095 AUG |9 PH 2= 05

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Fl“`lllit,l MDCG\HT
UNH%H$§S`IF t§tl\,SAMERICA

Plaintiff,
Vs. *

 

 

JOEL ALVA, *

Defendant.

 

 

MOTION TO CON'I`INUE RE-SENTENCING HEARING

 

COMES NOW the United States of America, by and through Ten'ell L. I-Ian“is, United
States Attorncy, and Lon'aine Craig, Assistant United States Attomey for the Western D_istn'ct of
Tennessee, and moves this Honorablc: Court to continue this case currently set for Re-Sentencing
on August 31, 2005. Counsel is scheduled to attend CLE training on this date.
Defendant’s counsel Bruce Griffey has no objection to this continuance
Respectfully submitted,

TERRELL L HARRIS
United St Attorney

W// lMM@@

-HFORRAYNE CRAIG
Assistant United States Attorney.f :
167 N. Main, Room 800
Mernphis, Tennessee 38103

This document entered on the docket sheet Inc mplianca

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Case 2:02-cr-20079-.]PI\/| Document 157 Filed 08/15/05 Page 2 of 3 Page|D 128
CERTIFICATE OF SERVICE
I, Lorraine Craig, Assistant United States Attorney for the Westem District of Tennessee,
hereby certify that a copy of the foregoing Motion of the United States has been mailed, first
class postage pre-paid, to Bruce I. Griffey, Attomey at Law, 119 S. Main Street, Suite 300,

Mernphis, Tennessee 38103.

 

This_L day ofAugust, 2005. /_/"
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/\/.€/t técét<¢; xi
LORRAINE CRAIG

Assistant United States Attorney /
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DISTRIC COURT - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 157 in
case 2:02-CR-20079 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Bruce I. Griffey

THE HARDISON LAW FIRM- Memphis
119 S. Main St.

Ste. 300

l\/lemphis7 TN 38103

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

